AO245B [Rev. 12/03] Judgment in a Criminal Case
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                                            United States District Court
                                                  Eastern District of Michigan
                    United States of America                        JUDGMENT IN A CRIMINAL CASE
                               V.
                      ROBERT WOODS                                  Case Number: 11CR20050-1
                                                                    USM Number: 44808-039

                                                                    Gregory J. Stempien
                                                                    Defendant's Attorney


THE DEFENDANT:
    Pleaded guilty to count(s) 1,2,3 &4.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                      Offense Ended       Count
See page 2 for details.


  The defendant is sentenced as provided in pages 2 through 7 of this judgment. This sentence is imposed pursuant to the
Sentencing Reform Act of 1984

   It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                    April 10, 2012
                                                                    Date of Imposition of Judgment




                                                                  s/Nancy G Edmunds
                                                                 _________________________________________
                                                                  United States District Judge



                                                                    April 12, 2012
                                                                    Date Signed
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                                            ADDITIONAL COUNTS OF CONVICTION

Title & Section                     Nature of Offense                 Offense Ended      Count
18 U.S.C. 2252A(a)(2)               RECEIPT OF CHILD PORNOGRAPHY      9/08               1
and 18 U.S.C.
2252A(b)(1)
18 U.S.C. 2252A(a)(2)               RECEIPT OF CHILD PORNOGRAPHY      6/15/2010          2&3
and 18 U.S.C.
2252A(b)(1)
18 U.S.C.                           POSSESSION OF CHILD PORNOGRAPHY   6/15/2010          4
2252A(a)(5)(B) and 18
U.S.C. 2252A(b)(2)
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                                                    IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of: 90
months, on each count to be served concurrently. The Court took into consideration the Sentencing Guidelines and
Factors contained in 18 U.S.C. 3553(a).

The court makes the following recommendations to the Bureau of Prisons: The Court recommends that the defendant be
designated to FCI Elkton in order to be close to his family.

The defendant shall surrender for service of sentence at the institutuion designated by the Bureau of Prison: as notified by the
United States Marshal.




                                                    RETURN
I have executed this judgment as follows:




Defendant delivered on _______________________________ to _______________________________________ a
__________________________________________, with a certified copy of this judgment.



                                                              _________________________________________
                                                               United States Marshal


                                                              _________________________________________
                                                               Deputy United States Marshal
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 10 years, on each count
concurrently.
   The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
   The defendant shall not commit another federal, state or local crime.
   If the defendant is convicted of a felony offense, DNA collection is required by Public Law 108-405.
   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court. Revocation of supervised release is mandatory for possession of a
controlled substance.
    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse.
    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
  is a student, as directed by the probation officer.
       If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
       The defendant must comply with the standard conditions that have been adopted by this court as well as with any
  additional conditions on the attached page.
                                                  STANDARD CONDITIONS OF SUPERVISION
  1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2) the defendant shall report ot the probation officer and shall submit a truthful and complete written report within the first
  five days of each month;
  3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
  officer;
  4) the defendant shall support his or her dependents and meet other family responsibilities;
  5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
  or other acceptable reasons;
  6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
  controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
  convicted of a felony, unless granted permission to do so by the probation officer;
  10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
  confiscation of any contraband observed in plain view of the probation officer;
  11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
  enforcement officer;
  12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
  without the permission of the court;
  13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
  defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
  notifications and to confirm the defendant's compliance with such notification requirement; and
  14) the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. Revocation of
  supervised release is mandatory for possession of a firearm.
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                                           SPECIAL CONDITIONS OF SUPERVISION

  1. The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C.
  16901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency
  in which he resides, works, is a student, or was convicted of a qualifying offense.

  2. The defendant shall successfully complete any sex offender diagnostic evaluations, treatment or counseling
  programs, and polygraph examinations as directed by the probation officer. Reports pertaining to sex offender
  assessments, treatment, and polygraph examinations shall be provided to the probation officer. Based on the
  defendantâ€™s ability to pay, the defendant shall pay the cost of diagnostic evaluations, treatment or counseling programs,
  and polygraph examinations in an amount determined by the probation officer.

  3. The defendant shall not associate with minor children under the age of eighteen (18), except in the presence of a
  responsible adult who is aware of the nature of your background and current offense, and who has been approved by
  the probation officer. The defendant shall not frequent places where children congregate on a regular basis (such as
  but not limited to school grounds, playgrounds, child toy stores, video arcades, etc.).

  4. The defendant shall not purchase, sell, view, or possess images, in any form of media or live venue, that depict
  pornography, sexually explicit conduct, child erotica, or child nudity. The defendant shall not patronize any place
  where such material or entertainment is available.

  5. The defendant shall have all residences pre-approved by the Probation Department. The defendant shall not live in
  a residence where children under the age of 18 or adults with disabilities also reside, without prior approval of the
  probation officer.

  6. The defendant shall provide the probation officer with accurate information about all computer systems
  (hardware/software), all passwords, and Internet Service Provider(s), that you have potential and/or reasonable access
  to and abide by all rules of the U.S. Probation Departmentâ€™s Computer Monitoring Program. The defendant shall only
  access a computer approved by the U.S. Probation Department. The defendant shall consent to the probation officer
  conducting periodic unannounced examinations of all computer systems, which may include computer monitoring
  software at your expense. For the purpose of accounting for all computers, hardware, software and accessories, the
  defendant shall submit his person, residence, computer and/or vehicle to a search conducted by the U.S. Probation
  Department at a reasonable time and manner. The defendant shall inform any other residents that the premises and
  your computer may be subject to a search pursuant to this condition. The defendant shall provide the probation
  officer with access to any requested financial information including billing records (telephone, cable, internet, satellite,
  etc.) .

  7. The defendant shall have employment pre-approved by the Probation Department. The defendant shall not be
  employed at or participate in any volunteer activities that involve contact with children under the age of 18 or adults
  with disabilities, without prior approval from the probation officer. If the defendant's employment requires the use of
  a computer, the defendant shall notify the employer of the nature of his conviction and this notificaiton must be
  confirmed by the probation officer.

  8. The defendant shall only have access to one internet capable device. Wireless routers are not permitted. All other
  internet capable devices, such as cellular phones and gaming consoles shall not have the internet connected. The
  defendant is prohibited from accessing any online computer service at any location including, but not limited to public
  libraries, internet cafes, and places of employment or education without the permission of the probation officer.
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                                                  CRIMINAL MONETARY PENALTIES
                             Assessment                      Fine                                 Restitution
TOTALS:                      $ 400.00                        $ 0.00                               $ 0.00

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee                                                         Total Loss*              Restitution Priority or
                                                                                                 Ordered Percentage
    TOTALS:                                                  $ 0.00                  $ 0.00




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
[A] Lump sum payment of $400.00 due immediately.

Unless the court has expressly ordered otherwise in the special instructions above, while in custody, the defendant shall
participate in the Inmate Financial Responsibility Program. The Court is aware of the requirements of the program and approves
of the payment schedule of this program and hereby orders the defendant's compliance. All criminal monetary penalty payments
are to be made to the Clerk of the Court, except those payments made through the Bureau of Prison's Inmate Financial
Responsibility Program.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
